




NO. 07-05-0356-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL C



MARCH 29, 2007

______________________________



BOBBY LADELL DORSEY, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE

_________________________________



FROM THE 31
ST
 DISTRICT COURT OF GRAY COUNTY;



NO. 6696; HONORABLE STEVEN R. EMMERT, JUDGE

_______________________________





Before QUINN, C.J., and HANCOCK and PIRTLE, JJ.

MEMORANDUM OPINION

Appellant was placed on deferred adjudication for a period of 10 years after entering a plea of guilty, pursuant to a plea bargain, to the offense of delivery of a controlled substance in a drug free zone, enhanced by one prior conviction. &nbsp;The State subsequently filed a motion to proceed with adjudication alleging that appellant committed four violations of his community supervision. &nbsp;The trial court conducted a hearing and found that appellant had violated all four of the terms and conditions of community supervision as alleged and, after receiving evidence regarding punishment, assessed appellant’s punishment at confinement in the Institutional Division of the Texas Department of Criminal Justice for a period of 10 years and ordered a fine of $2,500. &nbsp;We affirm.

Appellant’s attorney has filed an 
Anders
 brief and a motion to withdraw. &nbsp;
Anders v. California
, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed. 2d 498 (1967). &nbsp;In support of his motion to withdraw, counsel certifies that he has diligently reviewed the record, and in his opinion, the record reflects no reversible error upon which an appeal can be predicated. &nbsp;
Id
. at 744-45. &nbsp;In compliance with 
High v. State
, 573 S.W.2d 807, 813 (Tex.Crim.App. 1978), counsel has candidly discussed why, under the controlling authorities, there is no error in the trial court’s judgment. &nbsp;Additionally, counsel has certified that he has provided appellant a copy of the 
Anders
 brief and motion to withdraw and appropriately advised appellant of his right to file a 
pro se
 response in this matter. &nbsp;
Stafford v. State
, 813 S.W.2d 503, 510 (Tex.Crim.App. 1991). &nbsp;The court has also advised appellant of his right to file a 
pro se
 response.
(footnote: 1) &nbsp;
Appellant has not filed a response. &nbsp;

By his 
Anders
 brief, counsel raises grounds that could possibly support an appeal, but concludes the appeal is frivolous.
 &nbsp;We have reviewed these grounds and made an independent review of the entire record to determine whether there are any arguable grounds which might support an appeal. &nbsp;
See
 
Penson v. Ohio
, 488 U.S. 75, 109 S.Ct. 346, 102 L.Ed.2d 300 (1988); 
Bledsoe v. State
, 178 S.W.3d 824 (Tex.Crim.App. 2005). &nbsp;We have found no such arguable grounds and agree with counsel that the appeal is frivolous.

Accordingly, counsel’s motion to withdraw is hereby granted and the trial court’s judgment is affirmed.



Mackey K. Hancock

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice











Do not publish. &nbsp;

FOOTNOTES
1: Appellant has filed five motions for extension of time to file a response to the Anders brief. &nbsp;The first four motions were granted and the final motion was denied on July 19, 2006.




